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                         UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION

 MALIBU MEDIA, LLC,                             )
                                                )
        Plaintiff,                              )    Civil Action Case No.5:19-cv-00834-DAE
                                                )
 v.                                             )
                                                )
 JOHN DOE,                                      )
                                                )
        Defendant.                              )
                                                )

            PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION FOR
                       PARTIAL SUMMARY JUDGMENT

       Plaintiff, Malibu Media, LLC (“Plaintiff”), by and through undersigned counsel hereby

files its Opposition to Defendant’s Motion for Partial Summary Judgment (Dkt. 32), and files this

memorandum in support.


I. INTRODUCTION

       Defendant’s Motion for Partial Summary Judgment should be denied. Defendant’s

arguments are based on a mere denial and impermissible speculation. Specifically, this action is

still in the discovery phase and there are, as such, numerous disputed material facts such that a

motion for summary judgment, by either party, is simply premature. Plaintiff, therefore,

respectfully requests that the Court deny Defendant’s Motion for Partial Summary Judgment.

II. PROCEDRUAL HISTORY

       Plaintiff sued Defendant for a single count of direct copyright infringement based on

Defendant’s use of the Internet and the BitTorrent file distribution network to download and

distribute Plaintiff’s copyrighted films. See Complaint Dkt 1. Over a course of time, Plaintiff’s

consulting expert, IPP International UG (“IPP”) captured and recorded Defendant’s Internet
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Protocol Address (“IP Address”) downloading and redistributing one or more pieces of digital

media files, which correlate to a copyrighted film owned by Plaintiff. Id. Plaintiff subsequently

sought leave of Court to serve a third party subpoena prior to conducting a Rule 26(f) conference

seeking the subscriber information associated with the subject IP Address captured infringing

Plaintiff’s works (Dkt. 5). Defendant’s Internet Service Provider, Spectrum, identified Defendant

as the subscriber of the Internet service associated with the subject IP Address. Defendant filed an

Answer with Affirmative Defenses and Counterclaims on December 19, 2019 (Dkt. 14). Plaintiff

thereafter filed a Motion to Strike Defendant’s Affirmative Defenses and Motion to Dismiss

Defendant’s Counterclaims (Dkt. 16 and 17).           This Court denied both motions (Dkt. 28).

Unfortunately, lost in the shuffle, which is partially attributed to a missed calendaring of the

Answer date caused by staffing issues related to the COVID-19 pandemic, the deadline to file an

Answer to Defendant’s counterclaims was inadvertently missed. That said, Defendant has not and

will not be prejudiced if Plaintiff is permitted to file an Answer to these counterclaims out of time,

and Plaintiff will be filing a Motion for Leave to File an Answer Out of Time contemporaneously

with this Opposition.

       Further, it should be noted that Defendant filed the instant motion for summary judgment

before the close of discovery and before it fully responded to Plaintiff’s outstanding discovery

requests. While recognizing, of course, that a Motion for Summary Judgment may be filed before

the close of discovery, information needed to investigate relevant evidence of disputed issues of

material fact remains solely in the possession of Defendant. With a response date of August 28,

2020, which includes an extension of time for Defendant to respond, all material facts have not yet

been discovered. With discovery responses forthcoming, it is impossible to conclude that there

are no material facts in dispute such that summary judgment is warranted.



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II. LEGAL STANDARD

       A. Summary Judgment Standard

       Summary judgment is proper where “there is no genuine dispute as to any material fact and

the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). In deciding a summary

judgment motion, the evidence of the non-movant is to be believed, and all justifiable inferences

are to be drawn in his favor. Quorum Health Resources, L.L.C. v. Maverick County Hosp. Dist.,

308 F.3d 451, 471 (5th Cir. 2002) quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255

(1986). See also Matsushita Elec. Indus. Co. v. Zenith Radio Corp, 475 U.S. 574, 587-88 (1986);

Fierros v. Texas Dept. of Health, 274 F.3d 187, 190 (5th Cir. 2001) ( In making summary judgment

determination, [d]oubts are to be resolved in favor of nonmoving party, and any reasonable

inferences are to be drawn in favor of that party ); Zala v. Trans Union, LLC, No. Civ A. 3:99-CV-

0399, 2001 WL 210693, at * 1 & n. 1 (N.D. Tex. Jan. 17, 2001) (same). A factual dispute precludes

a grant of summary judgment if the evidence would permit a reasonable jury to return a verdict for

the nonmoving party. Quorum Health, 308 F.2d at 458 citing Liberty Lobby, 477 U.S. at 248.

       B. Rule 8(b)(6) Admissions

       While the effect of failing to answer the allegations of a counterclaim are that the

allegations are deemed admitted under Fed. R. Civ. P. 8(b)(6), “the purpose of this rule is ‘to avoid

unfair surprise by the party who failed to file a responsive pleading.’” Campbell Harrison &

Dagley, L.L.P. v. PBL Multi-Strategy Fund, L.P., 744 F. App’x 192, 203 (5th Cir. 2018) quoting

Trotter v. Jack Anderson Enterprises, Inc., 818 F.2d 431, 436 (5th Cir. 1987). The Fifth Circuit

repeatedly has made clear that it prefers to resolve matters on the merits and that the “rules of


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procedure are tools to facilitate the smooth and expeditious litigation of cases; they are not intended

as weapons to be used by one party to undermine and destroy an opponent.” Bitterroot Holdings,

LLC v. Bank of N.Y. Mellon, No. SA-14- CA-0804-FB, 2015 U.S. Dist. LEXIS 194068, at *12

(W.D. Tex. Nov. 16, 2015). In this vein, the Fifth Circuit has held that motions, such as a motion

to dismiss, “while not a pleading responsive to a complaint, g[ive] ... plain notice that the

[allegation] was a matter to be litigated....[and] failure to file an answer, therefore, ha[s] no effect

on the rights of [the party].” Campbell, 744 F. App’x at 203. With this in mind, Defendant’s

contention that summary judgment should be granted on its counterclaims seeks to use the rules

of procedure to undermine the actual litigation of the issues at hand, which Plaintiff has every

intent of defending.

        III. ARGUMENT

        With facts in dispute, discovery ongoing, and the Fifth Circuit’s stated preference to decide

matters on the merits, Defendant’s argument for summary judgment on its counterclaims is simply

premature. The facts claimed by Defendant to be undisputed are anything but. Plaintiff has clearly

disputed the facts by filing a Motion to Dismiss and expressed its intent to litigate those issues.

        Further, Defendant’s conclusory statements that Plaintiff has misused its copyrights,

directed IPP to conduct its investigation in any specific manner, which is has not and does not, is

simply unfounded. Additionally, with Defendant’s discovery responses outstanding, material facts

clearly remain in dispute.

        A. Declaratory Judgment of Non-Infringement

        With discovery ongoing, and the adjudication of whether Defendant committed the

copyright infringement alleged by Plaintiff outstanding, it is inappropriate to grant summary

judgment for Defendant’s counterclaim for a declaratory judgment of non-infringement, which



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would effectively end Plaintiff’s case. Plaintiff has clearly evidenced its desire to litigate the

infringement of its copyrights by the filing of the instant action. The granting of summary

judgment on its counterclaim for declaratory judgment of non-infringement, which merely restates

the controversy set forth in the Complaint, would prevent Plaintiff the opportunity to fully

adjudicate its claim. With the Fifth Circuit’s stated preference to adjudicate matters on the merits,

Plaintiff should be afforded the opportunity to litigate whether the Defendant did or did not infringe

its copyrights. The granting of summary judgment on this counterclaim would not allow Plaintiff

that opportunity. To this point, Defendant has done nothing other than allege he or she has not

infringed Plaintiff’s valuable copyrights. Defendant’s Motion for Partial Summary Judgment is

rife with blanket denials of liability. Yet, Defendant has not yet responded to Plaintiff’s discovery

requests on these precise issues. Thus, material facts are clearly is dispute and summary judgment

should not be granted.

       B. Harmful Access to Computer Claim Under Texas Law

       Defendant seeks to hold Plaintiff liable for violating Chapter 143 of the Texas Civil

Practices and Remedies Code, which allows a civil cause of action by “a person who is injured or

whose property has been injured as a result of a violation under Chapter 33, Penal Code, ... if the

conduct constituting the violation was committed knowingly or intentionally.” Tex. Civ. Prac. &

Rem.Code § 143.001(a). Defendant claims that IPP’s capturing of Defendant’s IP Address

engaging in copyright infringement constitutes a violation of § 33.02(a) of the Texas Penal Code.

Defendant has not demonstrated any “injury” as is required by § 143.001. Since the BitTorrent

network is not Defendant’s computer, computer network or computer system, but rather a

decentralized network to which Defendant joined to unlawfully download Plaintiff’s works, it

cannot be shown that Plaintiff or IPP violated the statute despite the broad interpretation advanced



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by Defendant.     With material facts surrounding the computer network and access thereto

outstanding, summary judgment is not warranted on this issue.

       C. Abuse of Process

       “To prevail on an abuse of process claim, [the plaintiff] must prove that 1) the defendant

made an illegal, improper or perverted use of the process, 2) the defendant had an ulterior motive

or purpose in exercising such illegal, improper, or perverted use of the process, and 3) the plaintiff

suffered damage as a result.” Leader's Inst., LLC v. Jackson, No. 3:14-CV-3572-B, 2017 U.S.

Dist. LEXIS 193555 at *15 (N.D. Tex. Nov. 22, 2017). Abuse means “that the process was

properly issued, but later used for a purpose for which it was not intended.” USHealth Grp., Inc.

v. South, No. 4:14-CV-757-A, 2015 U.S. Dist. LEXIS 69488 at *8 (N.D. Tex. May 29, 2015). “To

constitute an abuse of process, the process must be used to accomplish an end which is beyond the

purview of the process, and which compels a party to do a collateral thing which he would not be

compelled to do.” Breitling v. LNV Corp., No. 3:15-CV-0703-B, 2015 U.S. Dist. LEXIS 135803

at *18 (N.D. Tex. Oct. 5, 2015). “But when the process is used for the purpose for which it is

intended, even though accompanied by an ulterior motive, no abuse of process occurs." Id.

Plaintiff has not perverted any process and has no bad intentions; it merely filed a copyright

infringement lawsuit to protect its copyrights and seek some redress for Defendant’s multiple

infringements.

       There has been no abuse of process by Plaintiff in the instant matter. All of Plaintiff’s

actions fall within regular and legitimate functions in relation to the cause of action stated in the

Complaint.    Defendant’s counterclaim fails to allege that the proceeding was perverted to

accomplish an ulterior purpose for which it was not designed. Defendant has pointed to no action

by Plaintiff that was not proper in the normal context of the proceeding. The only actions taken by



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Plaintiff in this case to date were: (1) filing a complaint against a Doe Defendant for infringement

of its copyrighted audiovisual works; (2) seeking leave to obtain early discovery in order to identify

the Doe Defendant; and (3) subpoenaing Defendant’s ISP to obtain his identity pursuant to this

Court’s Order authorizing Plaintiff to do so. None of these actions are improper in the normal

context of the proceeding.

       To the extent Defendant alleges that Plaintiff’s ulterior purpose is to use this litigation as a

means to extort money, Defendant’s allegations are conclusory and not supported by any plausible

facts. See Counterclaim, pp. 14-17. Defendant states, without any conceivable basis, that Plaintiff

has attempted to “extract money from defendant/counterclaimant by leveraging the lawsuit as a

form of public disparagement and humiliation.” CM/ECF 14 p. 19 ¶ 123. Yet, Defendant has not

and cannot allege evidence of abuse or harassment in this case. “Inasmuch as defendant[] ha[s]

done nothing more than recite the elements of a cause of action for abuse of process along with

legal conclusions, dismissal is appropriate.” USHealth Grp., Inc. v. South at 9-10.

       Moreover, Defendant’s allegations are further undermined by the fact that Plaintiff’s policy

is to not oppose a Defendant’s request to proceed anonymously through close of discovery, which

it has already agreed to in this case. Defendant’s allegations that Plaintiff leverages lawsuits “as a

form of public disparagement” are not only conclusory, but they are simply not true.

       With numerous material facts remaining outstanding on this issue, Defendant’s motion for

summary judgment on this issue should be denied.

IX. CONCLUSION

       The Court should deny Defendant’s Motion for Partial Summary Judgment because

Defendant has failed to meet its burden of establishing an absence of disputed material facts.

Specifically, there exist genuine issues of material fact as to whether Defendant committed the



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underlying copyright infringement. Further, with the Fifth Circuit’s stated preference to resolve

issues on the merits, and Plaintiff’s clear intent to litigate Defendant’s counterclaims despite a

clerical oversight in calendaring an Answer date, material facts plainly exist. For the forgoing

reasons, Defendant is not entitled to partial summary judgment.

       Dated: July 31, 2020                         Respectfully submitted,

                                                     By: /s/ Paul S. Beik
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                                 CERTIFICATE OF SERVICE
       I hereby certify that, on July 31, 2020, I electronically filed the foregoing document with

the Clerk of the Court using CM/ECF and that service was perfected on all counsel of record and

interested parties through this system.

                                                    By: /s/ Paul S. Beik
                                                    PAUL S. BEIK




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